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UNITED STATES OF AMERICA

vs CR NO. l:OS-lOOlO-Ol-T

TED WAYNE CARROLL

ORDER ON CHANGE OF PLEA
This cause came on to be heard on August 22, 2005, Assistant U. S. Attorney,
J ames W, Powell, appearing for the government, and the defendant appeared in person
and With oounsel, Donald Schwendirnann, Who Was retained
With leave of the Court, the defendant Withdrew the Not Guilty Plea heretofore entered
and entered a plea of GUILTY as charged in Counts l of the Superceding lndictrnent.

This case has been set for sentencing on Tuesdav .. November 15.. 2005. at 9:15

The defendant is allowed to remain on his present bond.

Al\/[.QOWMAM

D. TODD
lJ ]Nl ED STATES DISTRICT JUDGE

DATE: 231 Q,M.%L“j 3//0$"

IT IS SO ORDERED.

Thls document entered on the docket s _ ln corn nance
with Ru¥e 55 and!or 32(b) FHCrP on §

tag

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
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Honorable .l ames Todd
US DISTRICT COURT

